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                         UNITED STATES DISTRICT COURT
9

10                     CENTRAL DISTRICT OF CALIFORNIA
11
                                (EASTERN DIVISION)
12

13   MOSES HEREDIA,                           Case No.: 5:20-cv-02618-JWH-KKx
14               Plaintiff,
15                               PROPOSED ORDER GRANTING
     vs.                         PLAINTIFF MOSES HEREDIA’S
16
                                 MOTION TO ENTER DEFAULT
17   MTK GLOBAL SPORTS           JUDGMENT AS TO DEFENDANT
     MANAGEMENT, LLC; MTK GLOBAL DANIEL KINAHAN
18
     USA, LLC; GOLDEN BOY
19   PROMOTIONS, INC.; PAUL D.   Courtroom: 9D
     GIBSON; and DANIEL KINAHAN, Judge: Hon. John W. Holcomb
20

21
                 Defendants.

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24

25         [PROPOSED] ORDER GRANTING PLAINTIFF MOSES HEREDIA’S
26
            MOTION TO ENTER DEFAULT JUDGMENT AS TO DEFENDANT
                             DANIEL KINAHAN
27

28   PROPOSED ORDER GRANTING PLAINTIFF MOSES HEREDIA’S MOTION TO ENTER DEFAULT
     JUDGMENT AS TO DEFENDANT DANIEL KINAHAN - 1
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1          Upon consideration of Plaintiff’s Motion to Enter Default Judgment, the Court
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     finds that there is good cause to grant Plaintiff’s motion. The Court therefore orders
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4    as follows:
5
           1. The Court finds that entry of default judgment is appropriate as to
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7
              Defendant Daniel Kinahan on all counts alleged against said Defendant as

8             to the issue of Defendant Daniel Kinahan’s liability for said allegations
9
              ONLY; and
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11         2. That the Plaintiff is permitted, pursuant to Fed. R. Civ. P. 55(b), to conduct
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              discovery against the Defendant in order to develop evidence of his
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14
              damages, the issue of which shall be taken up by the Court at a subsequent

15            time upon Plaintiff’s application.
16
           IT IS SO ORDERED.
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18
           Dated:
19
                                            Honorable John W. Holcomb
20                                          UNITED STATES DISTRICT JUDGE
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27

28   PROPOSED ORDER GRANTING PLAINTIFF MOSES HEREDIA’S MOTION TO ENTER DEFAULT
     JUDGMENT AS TO DEFENDANT DANIEL KINAHAN - 2
